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 5 Attorneys for Petitioner
   SHAGMAG, INC.
 6
 7
                        UNITED STATES DISTRICT COURT
 8
                      CENTRAL DISTRICT OF CALIFORNIA
 9
10
   In re Sub
         Subpoenaena to GoDaddy Media            CIVIL ACTION NO.: 2:19-mc-183
11 Temple Inc.
           Inc.a
                                                 DECLARATION OF JEREMY S.
12                                               GOLDMAN IN SUPPORT OF
                                                 REQUEST FOR DMCA SUBPOENA
13                                               PURSUANT TO 17 U.S.C. § 512(h)
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               DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
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                 1         I, Jeremy S. Goldman, declare as follows:
                 2         1.     I am an attorney duly admitted to practice before this Court. I am a
                 3 partner at Frankfurt Kurnit Klein + Selz PC, attorneys for Petitioner SHAGMAG,
                        (“SHAGMAG”). I have personal knowledge of the facts set forth herein, and
                 4 INC. ("SHAGMAG").
                 5 if called as a witness, I could and would competently testify thereto. I make this
                 6 declaration in support of SHAGMAG’s
                                             SHAGMAG's request, pursuant to 17 U.S.C. § 512(h), for
                 7 a subpoena to GoDaddy Media Temple Inc.
                 8 17 U.S.C. §4 512(h) Authorizes the Clerk of the Court to Issue Subpoenas to
                 9 Service Providers for Identification of Copyright Infringers
                10         2.        U.S.C. §
                                  17 U.S.C. § 512(h)(1) provides
                                                        provides that
                                                                 that "[a]
                                                                      “[a] copyright owner or a person
                   authorized to
                11 authorized to act
                                 act on
                                     on the
                                        the owner’s behalf may
                                            owner's behalf may request
                                                               request the
                                                                       the clerk
                                                                           clerk of
                                                                                 of any
                                                                                    any United
                                                                                        United States
                                                                                               States
                12 district court to issue a subpoena to a service provider for identification of an alleged
                13 infringer in accordance with this subsection."
                                                     subsection.”
                14         3.     Pursuant to Section 512(h)(2), the request must include:
Frankfurt Kur




                15         (A)    a copy of a notification described in subsection (c)(3)(A);
                16         (B)   a proposed subpoena; and
                17         (C)   a sworn declaration to the effect that the purpose for which the
                18               subpoena is sought is to obtain the identity of an alleged infringer and
                19                that such information will only be used for the purpose of protecting
                20                rights under this title.
                21         4.     Section 512(4) provides
                                  Section 512(4) provides that,
                                                          that, upon
                                                                upon receipt
                                                                     receipt of
                                                                             of the
                                                                                the above materials, "the
                                                                                    above materials, “the
                          (not the
                   clerk” (not
                22 clerk"      the Court) “shall expeditiously issue and sign the proposed subpoena and
                                   Court) "shall
                23 return it to the requester for delivery to the service provider."
                                                                          provider.”
                24         5.     The subpoena
                                  The subpoena to
                                               to be
                                                  be issued
                                                     issued by
                                                            by the
                                                               the Clerk
                                                                   Clerk of
                                                                         of the
                                                                            the Court
                                                                                Court "shall
                                                                                      “shall authorize
                25 and order the service provider receiving the notification and the subpoena to
                26 expeditiously disclose to the copyright owner or person authorized by the copyright
                27 owner information sufficient to identify the alleged infringer of the material
                28 described in the notification to the extent such information is available to the service

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                                 DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
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                 1 provider." 17 U.S.C.
                   provider.” 17 U.S.C. §
                                        § 512(h)(3).
                                          512(h)(3).
                 2 This Request Meets Each Requirement of 17 U.S.C. §4 512(h)(2)
                 3         6.     This request meets each requirement of 17 U.S.C. § 512(h)(2).
                 4         7.     Attached hereto as Exhibit A is a true and accurate copy of the
                 5 notifications of infringement that SHAGMAG submitted to Sucuri and thothub.tv
                                           512(c)(3).11
                 6 pursuant to 17 U.S.C. § 512(c)(3).
                 7         8.     A copy of the proposed subpoena to be issued to Sucuri is being filed
                                                 event.2
                 8 on ECF herewith as a separate event.2
                 9         9.     Pursuant to 512(h)(2)(C), I hereby swear that the purpose of the
                10 subpoena is to obtain the identity or identities of alleged copyright infringers
                11 identified on the subpoena. The information obtained will be used only for the
                12 purpose of protecting the rights granted to our client, SHAGMAG, INC., under the
                13 U.S. Copyright Act, 17 U.S.C. § 101 et seq.
                14
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                15                                        *      *      *
                                                                        *
                   //
                16 I/
                   //
                17 II
                   //
                18 II
                19
                      Sucuri is
                20 11 Sucuri  is aa "service
                                    “service provider"
                                             provider” (as
                                                         (as defined by 17
                                                             defined by     U.S.C. §§ 512(k)(1))
                                                                        17 U.S.C.                of the
                                                                                      512(k)(1)) of the domain
                                                                                                        domain
                                 (the "Infringing
                    thothub.tv (the    “Infringing Website”),   which is
                                                    Website"), which   is displaying  and performing
                                                                          displaying and  performing
                21
                    SHAGMAG’s         copyright-protected content without authorization. Upon information
                    SHAGMAG's copyright-protected
                                            also aa service
                22 and belief, Securi is also       service provider
                                                            provider for
                                                                     for the
                                                                         the Infringing  Website’s web
                                                                             Infringing Website's   web hosts,
                                                                                                         hosts,
                   BuyVM and/or FranTech Solutions, which are also directly and/or indirectly liable
                23
                    for the infringement and for which identifying information is also sought in the
                24 subpoena.
                25
                     2
                                             provides that
                     17 U.S.C. § 512(h)(6) provides
                     2                                that "the
                                                           “the procedure for issuance and delivery of the
                   subpoena, and the remedies for noncompliance with the subpoena, shall be governed
                26 to the greatest extent practicable by those provisions of the Federal Rules of Civil
                27 Procedure governing the issuance, service, and enforcement of a subpoena duces
                             Accordingly, the
                   tecum.” Accordingly,
                   tecum."                 the proposed subpoena is prepared in accordance with Fed. R.
                28 Civ. P. 45.

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 1       10.   Based on the foregoing, I respectfully request that the Clerk of the
2 Court expeditiously issue and sign the proposed subpoena and return it to the
3 undersigned via ECF to be served on the service provider.
4
5        I declare under penalty of perjury that the foregoing is true and correct.
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7        Executed on this 25th day of October, 2019, at Los Angeles, California.
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               DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
